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                                                                                                 E-FILED
                                                                  Tuesday, 01 August, 2017 02:34:00 PM
                                                                           Clerk, U.S. District Court, ILCD

                            UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
      Plaintiff,                              )
                                              )
vs.                                           ) Case No. 16-cr-30061
                                              )
                                              )
AARON J. SCHOCK,                              )
                                              )
      Defendant.                              )

 MOTION TO DISMISS THE INDICTMENT FOR PROSECUTORIAL MISCONDUCT
  OR, IN THE ALTERNATIVE, TO BAR THE USE OF EVIDENCE TAINTED BY
                            MISCONDUCT

       COMES NOW Defendant Aaron J. Schock, by and through counsel, and respectfully

moves this Honorable Court for an order dismissing the indictment pursuant to Federal Rule of

Criminal Procedure 12(b)(3)(B)(v) for prosecutorial misconduct. In the alternative, Mr. Schock

respectfully moves this Honorable Court for an order excluding from the government’s case-in-

chief witness testimony that was tainted by the government’s misconduct.

       In support of this request, Mr. Schock incorporates his Memorandum in Support.



Dated: August 1, 2017                              Respectfully submitted,


                                                    /s/ George J. Terwilliger III
                                                    _____________________________
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing instrument was electronically filed with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to counsel

of record at their respective email addresses disclosed on the pleadings on this 1st day of August,

2017.


                                             /s/ George J. Terwilliger III
                                             _____________________
                                             George J. Terwilliger III




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